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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        : Criminal No. 17-
                                                :
                v.                              :
                                                :
                                                : 18 U.S.C. § 1343 (Wire Fraud)
DEBORAH Z. WASHINGTON,                          :
                                                :
                Defendant.                      :
                                                :


                                         INFORMATION

       The United States Attorney hereby charges that:

                                             COUNT ONE
                                              (Wire Fraud)

At all times relevant to this information:

   1. The Washington D.C., Department of General Services (“DGS”) was the government

agency responsible for managing a broad range of functions to include: managing capital

improvement and construction programs for a variety of District government agencies; executing

real property acquisitions by purchase or lease; disposing of property through sale, lease, or other

authorized method; managing space in buildings and adjacent areas; and providing building

management services for facilities owned or operated by the District of Columbia. As part of its

responsibilities, DGS solicited and awarded contracts to subcontractors used to fulfill its

functions.

   2. Company 1 was a contracting company providing janitorial, landscaping, and other

services to a variety of governmental and non-governmental entities in the Washington, D.C.

metropolitan area.



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   3. The defendant DEBORAH Z. WASHINGTON was an employee of Company 1.

   4. “C.J.” was a relative of WASHINGTON, and was not an employee or agent of either

General Maintenance Co., Inc. or Focal Point Industries.

   5. “D.C.” was a relative of WASHINGTON, and was not an employee or agent of either

General Maintenance Co., Inc. or Focal Point Industries.

                                         THE SCHEME

   6. Between on or about August 6, 2012, and August 8, 2012, in the District of Columbia and

elsewhere, the defendant, WASHINGTON, devised and intended to devise a scheme to defraud

DGS, and to obtain money and property, by means of materially false and fraudulent pretenses,

representations, and promises, which were material to DGS’s decision to award Company 1 a

DGS multi-year contract.

                                    MANNER AND MEANS

   7. It was part of the scheme to defraud that a Company 1 employee acquired two webmail

email addresses and created the email addresses for: (1) “[C.J.], Facilities Director, Focal Point

Industries” and (2) “[D.C.], Contracting Director, General Maintenance Co., Inc.” Defendant

WASHINGTON then used these email addresses to cause the emailing of two fraudulent Past

Performance Evaluation Forms to DGS purportedly written by: (1) C.J., the Contracting

Director of Focal Point Industries and pertaining to a $6.6 million subcontract whereby Company

1 provided janitorial services and grounds keeping for an unrelated company; and (2) D.C., the

Facilities Director of General Maintenance Facility Management Co., Inc. and pertaining to a

$5.2 million subcontract whereby Company 1 provided janitorial services to seven campuses of a

college in North Carolina.




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                             EXECUTION OF THE SCHEME

   8. It was further part of the scheme and artifice to defraud that defendant WASHINGTON

knowingly caused the emails containing the two fraudulent Past Performance Evaluation Forms

to be transmitted by means of wire communication in interstate commerce, for the purpose of

executing the scheme and artifice to defraud, to DGS’s decision to award Company 1 a DGS

contract.

                 (In Violation of Title 18, United States Code, Section 1343)

                                           Respectfully Submitted

                                           JESSIE K. LIU
                                           UNITED STATES ATTORNEY
                                           D.C. Bar No. 472845


                                    BY:    _______________________
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